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                                Supreme Court of Missouri
                                            en bane



                                         May 28, 2019


In   re:   Steyen V. Stenger,                )
                                             )
                  Petitioner.                )   Supreme Court No. SC97860
                                             )   MBE # 45842



                                            ORDER

         Petitioner, Steven V. Stenger, having filed in this Court a motion to voluntarily
 surrender his license to practice law in this state; and
         Petitioner having admitted in said petition ~hat on May 3, 2019, he pied guilty to a
 felony, in violation of Title 18, United States Code, Sections 1341, 1346 and 2 in the United
States District Court for the Eastern District of Missouri in cause no. 4:19CR312; and
         The Court having received the Chief Disciplinary Counsel's report and
 recommendation filed herein;
         The Court, thus advised, now orders that the surrender of the license of Steven V.
 Stenger be accepted and that said license be canceled.
         It is further ordered that the name of Steven V. Stenger be stricken from the roll of
 attorneys in this state, that he be disbarred, and that his right and license to practice law in
 this state is hereby terminated.
-       ·It 1s f'urther or-dered that Steven V. Stenger comply in all respects with Rule 5.27 -
 Procedure Following a Disbarment or Suspension Order.
         Costs taxed to Petitioner.



                                                    Day- to-Day




                                                    Zel M. Fischer
                                                     Chief Justice
